
225 Md. 630 (1961)
169 A.2d 419
COOPER
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[App. No. 60, September Term, 1960.]
Court of Appeals of Maryland.
Decided April 11, 1961.
Before BRUNE, C.J., and HENDERSON, HAMMOND, HORNEY and MARBURY, JJ.
PER CURIAM:
The sole contention on this application for leave to appeal from a denial of post conviction relief is that the applicant is entitled to a belated direct appeal to this Court from his conviction on September 27, 1957, of an assault with intent to murder.
Instead of setting forth the errors which would have constituted grounds for direct review, if he had any, the applicant, claiming that he was illiterate, unfamiliar with legal procedures and unaware of his right to appeal, contends that his court-appointed counsel failed to discuss with or advise him *631 of the right to appeal. He did not allege any fraud, bad faith or collusion by his trial counsel with a state official. It was for these reasons that Shure, J., denied relief. The denial was proper. Failure of counsel to advise a defendant of his right to an appeal is not the equivalent of a denial of that right and is not a ground for post conviction relief. Scott v. Warden, 223 Md. 667, 164 A.2d 270 (1960).
Application denied.
